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                    BROOK & ASSOCIATES, PLLC
                         NEW YORK | N E W J E R S E Y | WASHINGTON DC

BRIAN C. BROOK                                                          100 CHURCH STREET
BRIAN@BROOK‐LAW.COM                                                     FLOOR 8
                                                                        NEW YORK, NY 10007
                                                                        TEL: (212) 256‐1957




                                                   December 19, 2019

By ECF

The Honorable Katherine H. Parker
United States Magistrate Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

Re:   Daniel Kleeberg et al. v. Lester Eber et al., 1:16-cv-09517-LAK-KHP
      Request to Extend Page Limitations on Reply Briefs

Dear Judge Parker,

I write with the consent of all active parties’ counsel to respectfully request that the
Court permit all parties to file reply memoranda in support of their respective
motions for summary judgment (due Monday, 12/23) that are 16 pages in length.
This request is submitted in advance of the deadline in accordance with your
Honor’s Individual Rule III(c).

I cannot speak as to Defendants’ briefs, but Plaintiffs’ reply must not only address
arguments made in two separate opposition briefs, but also present numerous
procedural and evidentiary challenges in connection with Defendants’ Rule 56.1
counterstatements (or lack thereof).

We thank the Court for its attention to this matter.

                                                   Respectfully submitted,



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                                                   Brian C. Brook




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